           Case: 12-6519       Document: 006111550861           Filed: 01/07/2013       Page: 1          (1 of 3)
                                            No. 12-6519

                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT

SHEMEKA IBRAHIM,                                      )                                 FILED
                                                      )                              Jan 07, 2013
       Plaintiff-Appellant,                           )                       DEBORAH S. HUNT, Clerk
                                                      )
v.                                                    )      ORDER
                                                      )
MURFREESBORO MEDICAL CLINIC,                          )
P.A.; ANDREW H. FORD, Dr.; SLEEP                      )
MEDICINE OF MIDDLE TENNESSEE;                         )
KELLY A. CARDEN; SLEEP STUDY OF                       )
MIDDLE TENNESSEE; MURFREESBORO                        )
MEDICAL CLINIC SURG. CENTER PA,                       )
                                                      )
       Defendants-Appellees.                          )
                                                      )



       Before: GUY and ROGERS, Circuit Judges; HOOD, District Judge.*


       This matter is before the court for sua sponte consideration of appellate jurisdiction. See

Arbaugh v. Y & H Corp., 546 U.S. 500, 514 (2006); Liberty Mut. Ins. Co. v. Wetzel, 424 U.S. 737,

740 (1976). Federal Rule of Appellate Procedure 3(c)(1)(B) requires a notice of appeal to “designate

the judgment, order, or part thereof being appealed.” Courts liberally construe the requirements of

Rule 3, but its requirements are jurisdictional and noncompliance is fatal to appellate jurisdiction.

See Smith v. Barry, 502 U.S. 244, 248 (1992). Although this court has liberally construed notices

of appeal where appropriate, see United States v. Paull, 551 F.3d 516, 521 n.1 (6th Cir. 2009), the

court has not accepted appellate jurisdiction where a party makes no reference at all to a judgment

or order that the party intends to appeal. See Isert v. Ford Motor Co., 461 F.3d 756, 760-61 (6th Cir.

2006); United States v. Glover, 242 F.3d 333, 336-37 (6th Cir. 2001).




       *
       The Honorable Joseph M. Hood, United States District Judge for the Eastern District of
Kentucky, sitting by designation.



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                                                 -2-

        The documents before the court indicate that the district court entered an order dismissing

the civil rights action for lack of subject matter jurisdiction on October 16, 2012, and subsequently

denied as moot Ibrahim’s motion for leave to file an amended complaint. On November 9, 2012,

Shemeka Ibrahim filed a document styled “Motion/Complaint for an Appeal,” in which she appears

to request permission to transfer her case to the “appeal court in Nashville, Tennessee” and to “grant

[her] appeal and allow [her] to forward this case to the State of Tennessee Appeals Court.” She

acknowledges in this filing that “[l]awsuits alleging medical malpractice are generally filed in a state

trial court,” but she also claims that “[f]ederal courts may also be appropriate for filing malpractice

claims where a complete diversity of state citizenship exists . . . or if a federal question is invoked.”

Ibrahim does not make any reference to any judgment or order that she intends to appeal. Except

for its title, the November 9, 2012 document does not appear to be a notice of appeal seeking review

of any district court order. See Fed. R. App. P. 3(c). Consequently, Ibrahim has completely failed

to comply with the requirements of Rule 3(c)(1)(B), and this court lacks appellate jurisdiction.

        Accordingly, the appeal is dismissed for lack of jurisdiction.

                                             ENTERED BY ORDER OF THE COURT




                                                                Clerk




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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
  Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
      Clerk                        CINCINNATI, OHIO 45202-3988              www.ca6.uscourts.gov




                                                Filed: January 07, 2013




Ms. Shemeka Ibrahim
3916 Tea Garden Way
Antioch, TN 37013

                    Re: Case No. 12-6519, Shemeka Ibrahim v. Murfreesboro Medical Clinic, et al
                        Originating Case No. : 3:12-cv-01019

Dear Ms. Ibrahim,

  The Court issued the enclosed (Order/Opinion) today in this case.

                                                Sincerely yours,

                                                s/Laura A. Jones
                                                Case Manager
                                                Direct Dial No. 513-564-7023

cc: Mr. Keith Throckmorton

Enclosure

No mandate to issue




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